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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF COLORADO

  Civil Action No. 1:23-cv-00407-CNS-SBP

  THE RIDGE WALLET LLC,

         Plaintiff,

  v.

  MOUNTAIN VOYAGE COMPANY LLC

         Defendant.


                        MOTION FOR WITHDRAWAL OF COUNSEL


         Pursuant to D.C.COLO.LAttyR 5(b), Plaintiff The Ridge Wallet LLC (“Plaintiff”), by and

  through its undersigned counsel, respectfully moves for leave to withdraw the appearance of

  Amanda Maxfield as counsel of record in the above-captioned matter, and requests that Ms.

  Maxfield’s name be removed from all certificates of service and mailing lists. In support thereof,

  the undersigned states as follows:

         1.      Amanda Maxfield is no longer with the firm of K&L Gates LLP;

         2.      No party will be prejudiced or otherwise affected by Ms. Maxfield’s withdrawal,

                 as Plaintiff is currently represented by other counsel at K&L Gates LLP;

         3.      The relief requested in this Motion is sought in good faith and not for the purposes

                 of delay; and

         4.      A copy of this Motion will be served upon Defendant.

         WHEREFORE, Plaintiff respectfully moves the Court for an Order granting the

  withdrawal of Amanda Maxfield as counsel of record for Plaintiff The Ridge Wallet LLC.
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  Dated: August 8, 2024                     Respectfully submitted,

                                            s/ Aurora Temple Barnes
                                            Aurora Temple Barnes
                                            CO Bar No. 52677
                                            K&L GATES LLP
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                                            Dallas, TX 75201
                                            Tel: (214) 939-5627
                                            Aurora.Barnes@klgates.com

                                            Attorney for Plaintiff The Ridge Wallet LLC




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                                  CERTIFICATE OF SERVICE

     I hereby certify that, on August 8, 2024, I have caused the foregoing to be electronically filed

  with the Clerk of Court using the CM/ECF system, which will send notification of such filing to

  all counsel of record.


                                                      s/ Aurora Temple Barnes
                                                      Aurora Temple Barnes




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